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                        IN T H E UNITED STATES D I S T R I C T C O U R T
                        F O R T H E NORTHERN DISTRICT OF T E X A S
                                   FORT W O R T H DIVISION

K H A M B A O MONTGOMERY                      §
MULDOON                                       §
                                              §
          Plaintiff,                          §
                                              §
V.                                                         No.
                                              §
                                              §
STATE F A R M LLOYDS AND                      §               JURY DEMAND
WENDY L A C E Y                               §
                                              §
          Defendants.

               DEFENDANT STATE F A R M L L O Y D S ' NOTICE O F R E M O V A L

TO THE HONORABLE COURT:

          Pursuant to 28 U.S.C. §§ 1441 and 1446, State Farm Lloyds ("State Farm" or

"Defendant") files this Notice of Removal to the United States District Court for the Northern

District of Texas, Fort Worth Division, on the basis of diversity of citizenship and amount in

controversy and respectfully shows:

                                                   I.
                         F A C T U A L AND PROCEDURAL BACKGROUND

          1.     On January 13, 2015, Plaintiff Khambao Montgomery Muldoon ("Plaintiff) filed

her Original Petition in the matter styled Khambao Montgomery Muldoon v. State Farm Lloyds

and Wendy Lacey, Cause No. 067-276380-15, in the 67th Judicial District Court of Tarrant

County, Texas. The lawsuit arises out of a claim Plaintiff made for damages to her home under a

homeowner's insurance policy with State Farm Lloyds.

          2.     Plaintiff served State Farm with a copy of the Original Petition on or about

January 16, 2015. Upon information and belief, Defendant Wendy Lacey has not yet been

served.


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       3.      State Farm files this notice of removal within 30 days of receiving Plaintiffs

pleading. See 28 U.S.C. § 1446(b). In addition, this Notice of Removal is being filed within one

year of the commencement of this action.

       4.      A l l pleadings, process, orders, and other filings in the state court action are

attached to this Notice as required by 28 U.S.C. § 1446(a).        A copy of this Notice is also

concurrently being filed with the state court and served upon the Plaintiff.

       5.      As required by 28 U.S.C. § 1446(a) and Rule 81.1 of the Local Rules,

simultaneously with the filing of this notice of removal, attached hereto as Exhibit " A " is an

Index of State Court Documents. Attached as Exhibit " B " is a copy of the Docket Sheet. A copy

of Plaintiff s Original Petition is attached here to as Exhibit "C," and a copy of the Jury Demand

is attached as Exhibit "D." The citation to State Farm is attached as Exhibit "E," and State Farm

Lloyds' Original Answer is attached as Exhibit "F." Finally, State Farm's Certificate of

Interested Persons is attached as Exhibit "G."

       6.      Venue is proper in this Court under 28 U.S.C. §1441(a) because this district and

division embrace Tarrant County, Texas, the place where the removed action has been pending

and where the incident giving rise to this lawsuit took place.

                                                   II.

                                    BASIS FOR R E M O V A L

       7.      Removal is proper based on diversity of citizenship under 28 U.S.C. §§1332(a),

1441(a) and 1446.

A.     The Proper Parties Are O f Diverse Citizenship.

       8.      Plaintiff is, and was at the time the lawsuit was filed, a resident and citizen of

Texas. See Pi's Original Pet., Exhibit C, Pg. 1.



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       9.      Defendant State Farm is, and was at the time the lawsuit was filed, a citizen of the

states of Illinois, Colorado and Pennsylvania. State Farm is a "Lloyd's Plan" organized under

Chapter 941 of the Texas Insurance Code. It consists of an association of underwriters, each of

whom, at the time this action was commenced were, and still are, citizens and residents of the

states of Illinois, Colorado and Pennsylvania. Therefore, State Farm is a citizen and resident of

the states of Illinois, Colorado and Pennsylvania for diversity purposes. Royal Ins. Co. v. Quinn-

L Capital Corp., 3 F.3d 877, 882 (5th Cir. 1993); Massey v. State Farm Lloyd's Ins. Co., 993 F.

Supp. 568, 570 (S.D. Tex. 1998) ("the citizenship of State Farm Lloyds must be determined

solely by the citizenship of its members, or underwriters."); Rappaport v. State Farm         Lloyd's,

1998 WL 249211 (N.D. Tex. 1998) (finding that State Farm Lloyds is an unincorporated

association whose members are completely diverse with Plaintiff, and denying remand).

        10.    Upon information and belief, Defendant Wendy Lacey ("Lacey') is, and was at

the time the lawsuit was filed, a resident and citizen of the State of Texas. With respect to the

claims against Lacey, it is State Farm's position that she has been fraudulently joined in this

action. Therefore, the Texas citizenship of Lacey should be disregarded for the purposes of

evaluating diversity in this matter.

        11.    When fraudulent joinder is asserted, the Court must "pierce the pleadings" to

determine whether a cause of action grounded in fact exists. Carriere v. Sears, Roebuck & Co.,

893 F.2d 98, 100 (5th Cir. 1990), cert, denied, 498 U.S. 817 (1990). The failure to specify a

legal and factual basis for a claim against a non-diverse party constitutes a failure to state a claim

and results in fraudulent joinder of that party. Waters v. State Farm Mut. Auto. Ins. Co., 158

F.R.D. 107, 109 (S.D. Tex. 1994).




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           12.   Based on Plaintiffs pleading, there is no basis for predicting that Plaintiff might

be able to establish liability against Lacey because no real facts relating to her have been set

forth.     Plaintiffs claims against Lacey consist merely of labels, conclusions, and formulaic

recitations of the elements of causes of action. See Bell Atlantic Corp. v. Twombly, 550 U.S.

554, 127 S. Ct. 1955. 1964-65. 167 L.Ed.2d 929, 940 (2007); see also Ashcroft v Iqbal, 556 U.S.

662, 129 S. Ct. 1937. 1945. 173 L.Ed.2d 868 (2009 ). As such. Plaintiff cannot "establish a cause

of action against [Lacey] in state court." Travis v. Irby, 326 F.3d 644, 647 (5th Cir. 2003) (citing

                                                     th
Griggs v. State Farm Lloyds, 181 F.3d 694, 698 (5 Cir. 1999)); see also TAJ Properties, LLC v.

Zurich American Ins. Co., Civil Action No. 11-10-2512. 2010 W L 4923473 at *2 (S.D. Tex. Nov.

29, 2010) (Werlein, J.). Plaintiffs counsel is simply pleading allegations with the intent of trying

to prevent removal to federal court. Because there is no reasonable basis for this Court to predict

that the Plaintiff might be able to recover against Lacey her presence should be disregarded in

determining diversity jurisdiction.

           13.   Because Plaintiff is a citizen of Texas and Defendant State Farm is a citizen of

Illinois, Colorado and Pennsylvania, complete diversity of citizenship exists among the proper

parties.

B.         The Amount in Controversy Exceeds $75,000.00.

           14.   This is a civil action in which the amount in controversy exceeds $75,000.00.

Plaintiffs Petition expressly alleges that "Plaintiff seeks monetary relief over $100,000.00 but

not more than $200,000.00." See Exhibit C, § VIII. Thus, the express allegations in the Petition

exceed the amount in controversy threshold of $75,000.00.




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                                               III.

                                 CONCLUSION & P R A Y E R

       15.       A l l requirements are met for removal under 28 U.S.C. §§ 1332 and 1441.

Accordingly, Defendant State Farm Lloyds hereby removes this case to this Court for trial and

determination.

                                             Respectfully submitted,


                                             /s/Rhonda J. Thompson
                                             Rhonda J. Thompson
                                             State Bar No.: 24029862
                                             Courtney C. Kasper
                                             State Bar No.: 24078771

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                                             COUNSEL FOR DEFENDANT
                                             S T A T E FARM L L O Y D S


                                C E R T I F I C A T E OF SERVICE

        This is to certify that on the   day of February, 2015, a true and correct copy of the
foregoing was delivered to the following counsel for Plaintiff by electronic filing and certified
mail, return receipt requested:

       Cody Robinson
       Speights & Worrich
       1350 North Loop 1604 East, Suite 104
       San Antonio, Texas 78216
              Counsel for Plaintiff


                                             /s/Rhonda J. Thompson
                                             Rhonda J. Thompson



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